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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                    M iam iDivision

                             CaseNum ber:23-23933-C1V-M 0M N 0

  sucEslôN SIM ON DIAZ M ARQUEZ,
                Plaintiff,
  VS.

  M IAM IFINE FOODS,LLC andAV1ASSOR,

                D efendants.


                             SCHEDULING ORDER SETTIN G TRIAL
         TH IS COU RT issues tlzis order in accordance with LocalR ule 16.1. The parties shall
  com ply with the follow ing deadlines.

  Selection ofa m ediatorto be com pleted no laterthan:                    January 2,2024

  Deadlinetojoinadditionalpartiesortoamendpleadings:                      January 16,2024
  lntheunlikely eventthatexpertsareneeded,disclosureofexperts'
  nam esandtheirrepol'tsarerequired atleast30 daysbeforethe
  discovery deadline.                                                       April26,2024

  Deadlinetocompletea11discovery(includingexpertdiscovery):
  Deadlineforthefiling ofa11motionsforsummaryjudgment:                      M ay 10,2024
  Deadlineforthefiling ofpretrialmotions(includingmotionsinlimine           June26, 2024
  andDaubertmotions):
  M ediation to be com pleted no laterthan:                                 June 26,2024

  Plaintiffsw itness and exhibitlists:                                     A ugust7,2024

  Defendants'witnessand exhibitlists:                                      August9,2024

  Pretrialstipulationsto be tiled by:                                      August 13,2024

  CalendarCallat2:00 p.m .,W ilkie D .Ferguson U .S.Coudhouse,             A ugust20,2024
  Courtroom 12-2,400 N ol'th M iam iA venue,M iam i,FL 33128:
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  Trialsetforthetwo-week period comm encing:                                    August26,2024

        Pursuantto FederalRule ofCivilProcedure 40,thisaction is atissue. Itis
  AbJUDGED thatthepartiesshallcomplywiththefollowingtrialmanagementprocedures:
                 Pretrial Conference - The PretrialConference allowed under FederalRule of
  CivilProcedtlre 16(a)andrequiredbyLocalRule 16.1.C,shalltakeplaceimmediatelyfollowing
  CalendarCallonly ifrequested by thepartiesin advance. lfthe partiesdo notrequestapretrial
  conference in advance of CalendarCallthen no pretrialconference w illbe held.
         (2)     PlaintiffsW itnessandExhibitLists- Plaintiffshallelectronicallyupload onto
  the case docketa copy ofPlaintiffs W itness Listand a copy ofPlaintiffsExhibitListno later
  than W ednesday,A uaust7,2024.at5:00 p-m .
            (a)PlaintiffsW itnessList-Plaintiff'sW itnessListshallinclude allthewitnesses,
                 both 1ay and expert,thatPlaintiff intends to callat trial. Plaintiffs W itness List
                 shallbriefly describe the namre of each witness' testim ony and whether such
                 witnesseswillbetestifying liveorby deposition. W itnessesomitted f'
                                                                                   rom thelist
                 w illnotbe allow ed attrial.                                            .



            (b)Plaintiffs ExhibitList-Plaintiffs ExhibitListshallinclude the exhibitsthat
                 Plaintiff intends to use at trial. Plaintiffs Exhibit List shall in consecutively
                  num bered paragraphs adequately describe the nature of each docum ent listed.
                  The actual exhibits shall be pre-mazked with corresponding numbers (c.g.
                  PlaintiffsExhibit#1,PlaintiffsExhibit#2,etc.)which numbersthey willretain
                  through the end oftrial. The exhibit listshallrefer to specific item s and shallnot
                  include blarlket statem ents such as all exhibits produced during depositions or
                  Plaintffreservestheuse of any otherrelevantevidence. Exhibitsomitted from
                  thelistwillnotbe allow ed attrial.
                  Defendants'W itness and ExhibitLists- Defendantsshallelectronically upload
  onto the case docketa copy ofD efendants'W itness Listand a copy of D efendants'Exhibit List
  no laterthan Friday,A uuust 9,2024,at 5:00 p-m .
               (a)Defendants'W itnessList-Defendants'W itness Listshallinclude only those
                  additional 1ay and expel'
                                          t witnesses not included on Plaintiffs W itness List.
                  W itnesses listed by Plaintiffwillbe available for both parties and should notbe
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                 re-listed on D efendants' W itness List. D efendants' W itness List shall briefly
                 describe the nature of each additional witness' testim ony and whether such
                 w itnesses w ill be testifying live or by deposition. W itnesses om itted from
                 Defendants'W itness List and not listed on Plaintiffs W itness List willnotbe
                 allowed attrial.
            (b)Defendants'Exhibit List - Defendants'Exhibit Listshallinclude only those
                 additionalexhibits thatD efendants wish to introduce at trial which are noton
                 Plaintiffs ExhibitList. D efendants'Exhibit Listshallin consecutively num bered
                 paragraphs adequately describe the namre of each docum entlisted. The actual
                 exhibits shall be pre-marked with corresponding numbers (e.g. Defendants'
                 Exhibit#1,Defendants'Exhibit#2,etc.4which numbersthey willretain through
                 the end oftrial. The exhibitlistshallreferto specific item sand shallnotinclude
                 blanketstatementssuch asallexhibitsproducedduring depositionsorDe# ndants
                 reservetheuseofany otherrelevantevidence.Exhibitsomitledfrom Defendants'
                 ExhibitListand notlisted on PlaintiffsExhibitListwillnotbeallowed attrial.
     (4)PretrialStipulation - Pursuantto LocalRule 16.1.E,the parties shallfile a Pretrial
  Stipulation no laterthan Tuesdav.Auuust13.2024. The PretrialStipulation shallconform to
  the requirem ents ofLocalRule 16.I.E. The parties shallattach to the PretrialStipulation copies
  ofthewitnessand exhibitlistsalong with any objectionsallowed underLocalRule 16.1.E.9.A
  pending m otion for continuance shallnot stay the requirem ent for filing of a Joint Pretrial
  Stipulation.
     (5)Continuance/Settlement- To the extentthatthepartiesrequestmodification ofany
  datein this Coul'sScheduling Order,thepaliesshallfileeitheraM otion to Continue Trialora
  M otion to ContinuePretrialD eadlines. A stipulation ofsettlem entmustalso bein m 'iting. See
  LocalRule 7.1.4. Unless the Courtgrants the m otion in writing,counselm ust appear atthe
  CalendarCall.
     (6)M otions- W hen submitting motions,thepartiesshallsubmitaproposed orderonly for
  those m otionslisted in LocalRule 7.1.A .1.
      (7)Depositions- Depositionsarelimited to seven hoursduring oneday absentcourtorder
  oragreem entofthe parties and any affected non-party w itnesses. See LocalRule 26.1K .



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      (8)Summary Judgment- The practice of filing multiple motions forpartialsummary
  judgment which are collectively intended to dispose of the case (as opposed to one
  comprehensivemotionforsummaryjudgment)in ordertoevadememorandum page-limitations
  isspecifically prohibited. SeeAdministvativeOrder97-06 (S.D.Fla.Jan.31,1997)(amending
  LocalRule7.1.C.2).
                                                                          m
          D ONE AN D ORDERED in Chambers at M iam i,Florida,this          of D ecember
  2023.

                                         FED ERICO      REN O
                                         U N ITED A TES D ISTRICT JUD GE

  Copiesf'urnished to:

  CounselofR ecord
